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UN|TED STATES DlSTR|CT COURT
FOR THE WESTERN DlSTR|CT OF TENNESSEE
WESTERN DlVlSlON
DOLORES ROB|NSON,
Plaintif'f,
-VS- CASE NO.:

VER|ZON WlRELESS PEF{SONAL
COMMUN|CAT|ONS, L.P.

 

Defendant. /
M
1. Plaintiff alleges violation of the Te|ephone Consumer Protection Act, 47 U.S.C. §227 et
seq (“TCPA”).

JUR|SD|CT|ON AND VENUE
2. This is an action for damages exceeding Fifteen Thousand Do|lars ($15,000.00)
exclusive of attorney’s fees and costs.
3. Jurisdiction and venue for purposes of this action are appropriate and conferred by 28

U.S.C §§1331 and 1337. Mims v. Arrow Financial Serv/`ces LLC., 132 S. Ct. 740, 751 -53 (2012).

4. The alleged violations described in the Complaint occurred in Madison County,
Tennessee.

FACTUAL ALLEGAT|ONS
5. Plaintitf is a natural person, and a citizen of the State of Tennessee, residing in Madison

County, Tennessee.

6. Plaintiff is an alleged debtor.

7. Plaintiff is the “called party.” See Soppet v. Enhanced Hecoverv Co., LLC, 679 F.3d 637,
643 (7th Cir. 2012), reh’g denied (l\/lay 25, 2012).

8. Defendant, Verizon Wireless Personal Communications, L.P. (hereinafter

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“Verizon”) is a corporation and a citizen of the State of Tennessee with its principal place of
business at One Verizon Way, Basking Ridge, NJ 07920.

9. Defendant followed their corporate policy when attempting to communicate with the
P|aintiff.

10. Defendant placed approximately 64 calls t0 P|aintiff since 12/15/12.

11. Defendant intentionally harassed and abused P|aintiff on numerous occasions by calling
several times during one day, and back to back days, with such frequency as can reasonably be
expected to harass.

12. Each call the Defendant made to the P|aintiff’s cell phone was done so without the
“express permission” of the P|aintiff.

13. On or about December 15, 2012, P|aintiff received a telephone call to her cellular
telephone number, [(731)225-2125] from the Defendant at which time they left a prerecorded
voicemail for a person by the name of “Dustin E. Luther”. The P|aintiff also received a text
message to the same cellular number immediately following the phone call.

14. The Defendant has a corporate policy to use an automatic telephone dia|ing system or a
pre-recorded or artificial voice, just as they did to the P|aintiff’s cellular telephone in this case,
with no way for the consumer, or the Defendant, to remove the incorrect number.

15. Despite actual knowledge of their wrongdoing, the Defendant continued the campaign of
abuse.

16. Defendant left pre-recorded or artificial voice messages and text messages on the
P|aintiff’s cellular phone. See attached Exhibit “”.A

17. On 2/7/13 P|aintiff returned the Defendant’s ca||. lnitially, P|aintiff talked with Anthony, a
representative, who transferred her to Audrey, a supervisor. P|aintiff informed Audrey that she
had been receiving calls since 12/15/12 from Defendant for a Dustin E. Luther. P|aintiff
informed Defendant that she was not Dustin E. Luther and did not know Dustin E. Luther.

P|aintiff asked for the phone calls to cease. Audrey asked the P|aintiff for her cellular number,
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which P|aintiff provided. Audrey indicated that P|aintiff’s number was not a Verizon Wireless
phone number. The P|aintiff informed Audrey she has a prepaid cellular phone with a different
provider. Audrey informed P|aintiff that she would take care of it, and the phone calls would
stop.
18. The P|aintiff had similar conversations with the Defendant on 3/15/13, 4/19/13, and
5/6/13.
19. On 5/6/13, the Defendant left the following prerecorded and/or artificial voice message
on P|aintiff"s voicemai| on her cellular phone:

This is Verizon Wireless calling about a change in the status of the

account for Dustin E. Luther. lt is important that we speak to you in the

next twenty-four (24) hours. P|ease call us today at 1-800-249-2462. You

will be asked to enter your ten (10) digit Verizon Wireless phone number

which is 757-663-6303. Again our number is 1-800-249-2462, and enter

your ten (10) digit Verizon Wireless phone number. Thank you from

Verizon Wireless.
20. P|aintiff received approximately 64 calls from Defendant from February 2012 through
May of 2013, and the calls and/or texts continue through the filing of this Complaint.
21. Defendant’s corporate policy is structured as to continue to call individuals like the
P|aintiff, despite these individuals explaining to the Defendant that they are the wrong party.
22. Defendant’s corporate policy provided no means for the P|aintiff to have her number
removed from the call list.
23. Defendant has a corporate policy to harass and abuse individuals despite actual
knowledge that the called parties do not owe the alleged debt.
24. Defendant has many similar complaints from non-debtors across the country, as those
alleged in this lawsuit, by P|aintiff.
25. P|aintiff did not expressly consent to Defendant’s placement of telephone calls to
P|aintiff’s cellular telephone by the use of an automatic telephone dialing system, auto dia|er or

a pre-recorded or artificial voice prior to Defendant’s placement of calls.

26. None of Defendant’s telephone calls placed to P|aintiff were for “emergency purposes:
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as specified in 47 U.S.C. §227(b)(1)(A).
27. Defendant willfully and/or knowingly violated the TCPA with respect to the P|aintiff.
MD

(Vio|ation of the TCPA)
28. P|aintiff incorporates Paragraphs one (1) through twenty-seven (27).
29. Defendant repeatedly placed non-emergency telephone calls to P|aintift"s cellular
telephone using an automatic telephone dialing system, auto dialer or prerecorded or artificial
voice without P|aintiff’s prior express consent in violation of federal law, including 47 U.S.C.
§227(b)(1)(A)(iii).

WHEREFORE, P|aintiff respectfully demands a trial by jury on all issues so triable and
judgment against Defendant for statutory damages, punitive damages, actual damages, costs,
interest, attorney’s fees, enjoinder from further violations of these parts and any other such relief
the court may deem just and proper.

Respectfu||y submitted,

/s/ Mark A. Lambert

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And,

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/s/ William Peerce Howard
(Motion for Leave to appear Pro Hac Vice forthcoming)

 

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|, Mark A. Lambert, hereby certify that a true and correct copy of the foregoing has been

served on Defendant through Service of Process on its Registered Agent.

/s/ Mark A. Lambert

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